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 7

 8                                  IN THE UNITED STATES DISTRICT COURT

 9                                       EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                            CASE NO. 2:13-CR-00103 MCE

12                                      Plaintiff,        STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                             v.                         ORDER

14   ALEKSANDR KOVALEV, et al.,                           [18 U.S.C. § 3161]

15                                      Defendants.

16
17                                                    STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant Arthur

19 Menefee, by and through his counsel of record, hereby stipulate as follows:

20          1.       By previous order this matter was set for a status hearing on April 23, 2015.

21          2.       By this stipulation, defendant now moves to continue the status conference until May 7,

22 2015 and to exclude time between April 23, 2015 and May 7, 2015, under Local Codes T4 and T2. The

23 United States does not oppose this request.

24          3.       The parties agree and stipulate, and request that the Court find the following:

25                   a)      On May 1, 2013, the parties except Florence Francisco appeared before the Court

26 for a status hearing at which time the Court, the Honorable Kimberly J. Mueller, presiding, deemed the

27 case complex under Local Code T2 and the corresponding section of the Speedy Trial Act, 18 U.S.C. §

28 3161, et seq.

      Stipulation Re Speedy Trial Act                      1
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 1                    b)      The government has represented that the discovery associated with this case

 2 includes investigative reports, loan records, and related documents in electronic form that constitute
 3 approximately 40,000 pages. All of this discovery has been produced directly to counsel.

 4                    c)      Counsel for the defendant desires additional time to conduct his investigation and

 5 research related to the charges, to discuss potential resolutions with his client, and to otherwise prepare a
 6 defense. Further, counsel for defendant represents that he is currently in a multi-week trial.

 7                    d)      Counsel for the defendant believes that failure to grant the above-requested

 8 continuance would deny them the reasonable time necessary for effective preparation, taking into
 9 account the exercise of due diligence.

10                    e)      The United States does not object to the continuance.

11                    f)      Based on the above-stated findings, the ends of justice served by continuing the

12 case as requested outweigh the interest of the public and the defendants in a trial within the original date

13 prescribed by the Speedy Trial Act.
14                    g)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

15 et seq., within which trial must commence, the time period of April 23, 2015 through May 7, 2015,

16 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it
17 results from a continuance granted by the Court at defendant’s request on the basis of the Court's finding

18 that the ends of justice served by taking such action outweigh the best interest of the public and the
19 defendant in a speedy trial.

20                    h)      This time period is also deemed excludable pursuant to 18 U.S.C.

21 § 3161(h)(7)(A), B(ii) [Local Code T2] on the basis that the case is complex due to the number of
22 defendants and nature of the prosecution.

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       Stipulation Re Speedy Trial Act                     2
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 1          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.

 4          IT IS SO STIPULATED.

 5 Dated: April 22, 2015                                       BENJAMIN B. WAGNER
                                                               United States Attorney
 6
                                                               /s/ Todd A. Pickles
 7                                                             TODD A. PICKLES
                                                               Assistant United States Attorney
 8
 9 Dated: April 22, 2015
                                                               /s/ Todd A. Pickles for
10                                                             MARK J. REICHEL, ESQ.

11                                                             Counsel for defendant Arthur Menefee

12                                                     ORDER

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            IT IS SO ORDERED.
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     Dated: April 24, 2015
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      Stipulation Re Speedy Trial Act                      3
